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 Fill in this information to identify the case:
 Debtor name        STW Resources Holding Corp.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number                                                                                                                Check if this is an
 (if known)                                                                                                                 amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                            12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and          Name, telephone         Nature of the claim    Indicate if     Amount of unsecured claim
 complete mailing              number, and email       (for example, trade    claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of              debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
 code                          creditor                professional           unliquidated,   secured, fill in total claim amount and
                               contact                 services, and          or disputed     deduction for value of collateral or setoff to
                                                       government                             calculate unsecured claim.
                                                       contracts)
                                                                                              Total           Deduction       Unsecured
                                                                                              claim, if       for value       claim
                                                                                              partially       of
                                                                                              secured         collateral
                                                                                                              or setoff
1   GE Ionics, Inc.            Robinson & Cole, LLP    Note                   Contingent                                       11,906,242.00
    Po Box 2216                203-462-7500                                   Unliquidated
    Schnenectady, NY                                                          Disputed
    12301-2216



2   Crown Financial, LLC       Crown Financial, LLC    UCC1                                   $2,300,000.00       $54,860.09 $2,245,139.91
    P.O. Box 219330            281-646-2905
    Houston, TX 77218




3   United Drilling, Inc.      James W. Essman         Drilling services      Contingent                                       $1,577,833.33
    C/O Shafer, Davis,         432-332-0893                                   Unliquidated
    O'Leary & Stoker           jessman@shaferfirm.                            Disputed
    PO Drawer 1552             com
    Odessa, TX 79760-1552
    Attn: James W. Essman
4   Dufrane Nuclear            Darrell W. Corzine      Judgment lien                                                             $726,714.85
    Shielding, Inc.            432-367-7271
    C/O Darrell W. Corzine     dcorzine@kmdfirm.co
    4840 E. University Blvd.   m
    Odessa, TX 79762

5   Energy Transfer            Keegan Pieper           General services       Contingent                                         $700,000.00
    C/O Keegan Pieper,         713-989-7009            and maintenance        Unliquidated
    Assoc. Gen. Counsel                                agmt.                  Disputed
    1300 Main Street
    Mail Stop 20.035C
    Houston, TX 77002




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Debtor       STW Resources Holding Corp.                                        Case number (if known)
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                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
6   Lynette Dillen             Sara J. Waller       Wages, breach of      Contingent                                         $523,416.46
    C/O Pope, Berger,          619-234-1222         contract, etc.        Unliquidated
    Williams & Reynolds                                                   Disputed
    401 B Street, Suite 2000
    San Diego, CA 92101

7   East J4 LP                 Cotton, Bledsoe,     Judgment lien                                                            $412,093.64
    C/O Cotton, Bledsoe,       Tighe & Dawso
    Tighe & Dawson, PC         866-721-6665
    PO Box 2776
    Midland, TX 79702

8   McNees Wallace &           McNees, Wallace &    Legal services                                                           $355,072.12
    Nurick, LLC                Nurick, LLC
    100 Pine Street #5         717-232-8000
    Harrisburg, PA 17101



9   Watson Packer, LLC         Watson Packer, LLC   Services              Contingent                                         $270,186.29
    d/b/a Chief Services       432-235-1883                               Unliquidated
    600 N. Big Spring Street                                              Disputed
    Midland, TX 79701



10 FirstFire Global            Nicolas F. Coscia,   Note                                                                     $261,657.53
   Opportunities Fund, LLC     Esq.
   C/O Nicolas F. Coscia,      619-993-3361
   Esq.                        Nick@cosciaSEC.com
   PO Box 789
   Cardiff-by-the-Sea, CA
11 Beard Equipment Co.,        Alan A. Aaron        Equipment leases                                                         $228,586.00
   Inc.                        432-682-3550
   C/O The Law Office of
   Alan A. Aaron
   410 West Ohio, Suite 202
   Midland, TX 79701
12 Viewpoint Securities,       Seth Leyton          Banking services                                                         $228,170.92
   LLC                         619-272-2810
   401 West A Street
   Suite 325
   San Diego, CA 92101

13 LLG Energy Services,        Jacob M. Davidson    Lawsuit               Contingent                                         $203,756.88
   LLC                         432-687-0011                               Unliquidated
   d/b/a Moonlight Energy      jmdavidson@dgclaw.                         Disputed
   Services                    com
   C/O Davis, Gerald &
   Cremer, PC



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                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
14 Power Up Lending           Richard S. Naidich,   Judgment lien                                                            $193,349.96
   Group, Ltd.                Esq.
   C/O Richard S. Naidich,    516-498-2900
   Esq.
   Naidich Wurman, LLP
   111 Great Neck Road,
15 Miranda CFO Services,      Miranda CFO           Services                                                                 $189,194.67
   Inc.                       Services, Inc.
   600 West Broadway,         619-632-4762
   Suite 700
   San Diego, CA 92101

16 Oilprice.com               Jeffrey T. Hall       Services              Contingent                                         $150,000.00
   C/O Jeffrey T. Hall        214-635-1839                                Unliquidated
   1700 Pacific Avenue,       jthallesq@gmail.com                         Disputed
   Suite 4750
   Dallas, TX 75201

17 MDM Worldwide              MDM Worldwide         Services                                                                 $120,000.00
   Solutions, Inc.            Solutions, Inc.
   264 W 40th Street #602     212-643-0417
   New York, NY 10018



18 Marcum, LLP                Marcum, LLP           Services                                                                 $111,157.27
   750 3rd Avenue, 11th       855-626-2861
   Floor
   New York, NY 10017



19 Express 4X4 Truck          James W. Adelman      Truck rental                                                               $89,890.51
   Rental                     215-568-5621
   C/O Morris & Adelman,      mail@morrisadelman.
   PC                         com
   PO Box 2235
   Bala Cynwyd, PA 19004-
20 Seaboard International,    Ben L. Aderholt       Unsecured             Contingent                                           $80,685.01
   Inc.                       713-651-0111                                Unliquidated
   d/b/a Weir Seaboard                                                    Disputed
   C/O Ben L. Aderholt
   9 Greenway Plaza, Suite
   1100




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